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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

Case No.

TERRI LITTLE., an individual
CLASS ACTION COMPLAINT

Plaintiff,

Vv

NATURESTAR NORTH AMERICA, LLC, a
Minnesota Limited Liability Company;
TARGET CORPORATION, a Minnesota
Corporation

Defendants.

 

 

 

 

Plaintiff, Terri Little, an individual (“Plaintiff”), on behalf of herself and those similarly
situated, based upon information, belief, and investigation by herself and her counsel, except for

information based on personal knowledge, hereby alleges:

INTRODUCTION
1, Defendants NatureStar North America, LLC, (“NatureStar”) and Target
Corporation (“Target”), (collectively, “Defendants”), advertise, market, and sell disposable

single-use tableware such as plates and bowls, and food storage bags in various sizes, all under the
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label name “Matter” (the “Products”) which are marketed as compostable. A compostable product
is one which is capable of being broken down into non-toxic elements (compost) which are}
beneficial to the soil.

a. Many consumers concerned with environmental problems associated with the
proliferation of trash and waste actively seek to purchase products that are compostable so such
products can be introduced into the soil, rather than deposited in landfills. These consumers are
willing to pay more for such products, which often cost significantly more than non-compostable
disposable bags, plates, and bowls.

3. The purpose of this Complaint is to remedy Defendants’ unlawful, unfair, andi
deceptive business practices with respect to the advertising, marketing, labeling, and sale of the
Products as compostable, when in fact they are not.

4, Plaintiff purchased several items of the Products from one of Target’s stores, and|
did so in reliance on Defendants’ false representations that the Products were compostable.
Plaintiff viewed Defendants’ false representations on the labels and packaging of the Products. If
Plaintiff had known that the Products were not compostable, Plaintiff would not have purchased
the Products and/or would not have paid the premium price for compostable products. Defendants
have thus breached their express warranties under the California Commercial Code § 2313;
violated the California Consumers Legal Remedies Act (“CLRA”) by making representations that
the Products have characteristics, benefits, and qualities which they do not have, and subsequently
advertising the Products claiming that they did in fact have those characteristics, benefits, and
qualities; and violated the Business and Professions Code § 17200 based on fraudulent, unlawful,
and unfair acts and practices.

5. Plaintiff and the Class seek an order enjoining Defendants’ acts of unfair
competition and other unlawful conduct, an award of damages to compensate them for Defendant’s
acts of unfair competition, false and misleading advertising, and breaches of warranty, and
restitution to the individual victims of Defendants’ fraudulent, unlawful, and unfair acts and

practices.

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PARTIES

6. Plaintiff Terri Little is a resident of Fresno County, California. When given the
choice, Plaintiff buys products that are compostable, recyclable, or reusable so that she can
minimize her impact on the environment. Plaintiff purchased the Products during 2021 from al
Target store in Hanford, California. Plaintiff purchased the Products because she believed that they
would be an environmentally-friendly alternative to plastic products which are not compostable.
Plaintiff specifically selected the Products for purchase in reliance on Defendants’ representations
that the Products are compostable. These false representations are located on the labels and othey
marketing materials for the Products. Had Plaintiff known that the Products contained PFAS
chemicals, and thus could not break down into compostable material, she would not have
purchased the Products. As a result, Plaintiff paid considerably more for the Products than she
would have for similar products which are not and do not claim to be compostable.

7. Defendant NatureStar is a Minnesota limited liability company with its principal
place of business in Eden Prairie, Minnesota. NatureStar manufactures, distributes, and/or sells the
Products in California.

8. Defendant Target is a Minnesota corporation with its principal place of business in
Minneapolis, Minnesota. Target manufactures, distributes, and/or sells the Products in California,
JURISDICTION AND VENUE

9. This Court has jurisdiction over Defendants because Defendants are business|
entities that have sufficient minimum contacts with California, and have intentionally availed!
themselves of the California market either through the distribution, sale, or marketing of the
Products within the State of California, or by having facilities located within California so as to
render the exercise of jurisdiction over them by California courts consistent with traditional notions
of fair play and substantial justice.

10. Venue is proper pursuant to 28 U.S.C. §1391(a) because a substantial part of the

events or omissions giving rise to the claim occurred in this District.

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11. Intradistrict Assignment (L.R. 120(d)): This action arises in Kings County, in|
that a substantial part of the events which give rise to the claims asserted herein occurred in Kings
County. Pursuant to L.R. 120, all civil actions which arise in Kings County shall be assigned to
the Fresno Division.

BACKGROUND FACTS

12. Due to the amount of landfilled waste accumulating in the environment,
biodegradable and compostable foodware options have become increasingly popular. As
consumers look to invest in sustainable alternatives to single-use plastics and packaging, some,
including Plaintiff, actively seek out products that are compostable, recyclable, or reusable to
prevent the increase in global waste and to minimize their environmental footprints.

13. The California Business and Professions Code § 17580.5 makes it “unlawful for
any person to make any untruthful, deceptive, or misleading environmental marketing claim,
whether explicit or implied.” Pursuant to that section, the term “environmental marketing claim’’
includes any claim contained in the Guides for use of Environmental Marketing Claims published
by the Federal Trade Commission (the “Green Guides”). /bid; see also 16 C.F.R. § 260.1, et seg.
Under the Green Guides, “[i]t is deceptive to misrepresent, directly or by implication, that al
product or package is compostable.” 16 C.F.R. 260.7(a). “A marketer claiming that an item is
compostable should have competent and reliable scientific evidence that all the materials in the
item will break down into, or otherwise become part of, usable compost...in a safe and timely
manner...in an appropriate composting facility...” 16 C.F.R. §260.7(b).

14. The Green Guides’ definition of “compostable” is consistent with reasonable
consumer expectations that compost is comprised largely of “decayed organic matter” that “is used
for fertilizing and conditioning land.”! Accordingly, reasonable consumers expect that products
advertised, marketed, sold, labeled, and/or represented as compostable will be converted into
usable organic matter that decomposes into fertilizer to condition the land, and that such products

will not introduce toxic chemicals into the fertilizer or land.

 

' Merriam-Webster Dictionary (2022); accessible at: https://www.merriamwebster.
com/dictionary/compost; last accessed on: February 12022.
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15. The Green Guides specifically prohibit marketers from labeling products as|
compostable if those products release toxins into the compost as they break down, noting that “al
claim is deceptive if the presence...toxins prevents the compost from being usable” 16 C.F.R.
§260.7(d).

FACTS REGARDING DEFENDANTS’ PRODUCTS CONTAINING PFAS

16. Defendants advertise, market, and sell their Products under the Matter label as
compostable. Certain of the Products such as bowls and plates contain significant amounts of
perfluoroalkyl and polyfluoroalkyl substances (“PFAS”), which do not break down and never
become part of usable compost. PFAS are highly persistent synthetic fluorinated chemicals which
have been associated with a variety of negative health effects such as cancer, developmental
toxicity, immunotoxicity among others.”

LF PFAS are known as “forever chemicals” because they do not break down over time.
When PFAS are introduced into the environment, they seep into and contaminate both land and
water and then never leave. PFAS introduced into soil contaminates crops grown in that soil and
the meat from farm animals that graze there. Compost is used as soil-conditioning material on
fertilizer, so when compost is itself contaminated with PFAS, the PFAS then contaminate the soil
treated or fertilized with that compost and whatever grows or grazes on that soil.

18. PFAS’ characteristic carbon-fluorine bonds make them extremely resistant to
degradation, even at high temperatures. The strength of the bond between carbon and fluorine
means that these chemicals do not degrade in the environment. Due to the highly persistent nature
of these chemicals, they break down, very slowly, if at all. In fact, according to the National
Institute of Environmental Health Sciences, scientists are unable to estimate a half-life for PFAS.°

19. Because PFAS do not break down, they accumulate in air, soil, water, and in the

human body. *

 

? Schaider, L., et al., “Fluorinated Compounds in U.S. Fast Food Packaging” Environ Sci Technol
Lett. 2017 ; 4(3): 105-111. doi:10.102 l/acs.estlett.6b00435, (August 22, 2018), accessible at:
https:/Avww.ncbi.nlm.nih.gov/pme/articles/PMC6 1 04644/pdf/nihms983267.pdf, last accessed on
May 13, 2022.

3 National Institute of Environmental Health Sciences, accessible at:
https://www.niehs.nih.gov/health/topics/agents/pfe/index.cfm, last accessed on February 1, 2022.

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20.  PFAS have grease and water-resistant properties, which means they are often added|
to paper plates, bowls, food storage, and packaging products (together, “Foodware”). This leads
to increased PFAS exposure in humans and in the environment. For products sold as compostable
containing PFAS, there is the added concern that PFAS will seep into the ground and soil]
contaminating otherwise-usable compost streams.

21. | Foodware containing PFAS can contaminate food items. Worse yet, for
contaminated Foodware products that are compostable, PFAS can leach from the product into the
compost stream, contaminating the compost itself and the organic matter grown using that
composted material. For this reason, and for their environmental persistence, “PFASs should be
considered incompatible with compostable food packaging.”*

za. Humans are exposed to PFAS by consuming PFAS-contaminated water and food,
as well as through the use of products that contain PFAS. Such exposure can lead to effects on the
immune system, cancer, and thyroid hormone disruption.

23. Compostable and biodegradable Foodware options have become increasingly|
popular with consumers as a means to eliminate waste and divert usable products from landfills.
For products that claim to be compostable and/or biodegradable, private certification schemes have
arisen in the last two decades.

24, California has not adopted any certification standard for compostable Foodware.
Certain of the Products, the bowls and plates, bear a compostability certification from a private
organization, TUV Austria. Notwithstanding this certification, Plaintiff has caused bowls and
plates made by NatureStar to be independently tested by a third-party laboratory to ascertain the
presence and amount of PFAS within them.

25. The test results indicate the presence of significant amounts of PFAS within the
bowls and plates, in contradiction of Defendants’ claims that their Products are compostable.

Defendants’ claims that the Products are compostable are uniform, consistent, and material claims.

 

° Schaider, L., et al., “Fluorinated Compounds in U.S. Fast Food Packaging” Environ Sci Technol
Lett. 2017 ; 4(3): 105-111. doi: 10.102 1/acs.estlett.6b00435, (August 22, 2018), accessible at:
https://www.ncbi.nlm.nih.gov/pme/articles/PMC6104644/pdf/nihms983267.pdf, last accessed on
February 1, 2022 at p. 8.

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Because the claims are false and misleading, ordinary consumers, including members of the class
as defined hereinafter, are likely to be deceived by such representations.

26. By encouraging consumers to dispose of the Products in compost collection bing
on the basis that the Products are allegedly compostable, Defendants are contaminating entire
compost streams with PFAS materials that will not break down over time. The Products are then|
mixed with composted and compostable materials in an industrial composting facility and turned
into soil fertilizer for crops and other foods. However, the PFAS will remain uncomposted, thus
contaminating the crops grown in that soil. Environmentally motivated consumers who purchase
the Products in the belief that such products are compostable are thus unwittingly hindering
sustainable composing efforts.

27. It is reasonable to assume that if a Foodware product which is alleged to be
compostable is accepted into an industrial composing program, then that Foodware product is in|
fact compostable. Defendants’ representations that their Products are compostable are therefore
likely to deceive ordinary consumers because the Products are not, in fact, compostable as they
are held out to be.

28. The Green Guides are clear: “[a] marketer claiming that an item is compostable
should have competent and reliable scientific evidence that all the materials in the item will break
down into, or otherwise become part of, usable compost (e.g., soil-conditioning materials, mulch
in a safe and timely manner (i.e., in approximately the same time as the materials with which it is
composted) in an appropriate composing facility, or in a home compost pile or device.” 16 C.F.R.
§260.7(b). Here, the bowls and plates manufactured and sold by Defendants are not compostable
because they are made with PFAS, which cannot break down over time.

29. Defendants’ marketing of the Products as compostable is thus a direct violation of
the Green Guides. Because the Products are not compostable, Defendants’ representations are thus
per se deceptive under the Green Guides and under California law. Because the Products are not

compostable, Defendant cannot make any compostable claims as to the Products.

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FACTS REGARDING DEFENDANTS’ LABELING OF THEIR FOOD STORAGE BAG
PRODUCTS

30. In addition to plates and bowls, there are food storage bags of various sizes which
are manufactured, distributed, and sold by Defendants under the Matter label. Unlike the bowls
and plates which were certified as allegedly compostable by TUV Austria, these food storage bags
are purported to be certified as compostable by a different certification organization, the
Biodegradable Products Institute (“BPI”).

31. At the time that Plaintiff purchased the quart-sized and gallon-sized food storage
bags, these products were not listed on BPI’s website as being certified by BPI as being}
compostable. Defendants’ use of the BPI logo and certification of compostability on the packaging
of the food storage bags was a false and deceptive statement made to deceive consumers into
thinking that the storage bags were certified as being compostable.

32. The packaging for the storage bags also states that the bags were made in Malaysia.
Plaintiff has received confirmation from BPI that, at the time that the Products were purchased by
Plaintiff, no factory in Malaysia had been certified by BPI as producing compostable resealable
food storage bags.

33. | Onthe packaging for the one gallon-sized food storage bags, the portion of the box
that lists Malaysia as the bags’ place of origin has had a sticker placed over it which instead states
that the bags were manufactured in China. This re-labeling of the package is an attempt by!
Defendants to deceive consumers by concealing the bags’ true country of origin, especially since
the sticker is in the same font and coloring as the portion of the box it covers.

34. California Public Resources Code § 42357.5 requires that compostable bags be
readily and easily identifiable from non-compostable bags. To be considered identifiable, bags
must either 1). Be green with the word “compostable” printed in one-inch lettering on one side of
the bag; 2). Have the word “compostable” printed on one-inch green color lettering on both sides
of the bag; or 3). Have the word “compostable” printed in at least a half-inch lettering within al

one-inch green color stripe or band on both sides of the bag.

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35. The food storage bags at issue do not bear any of these required labeling features.
No lettering or striping is present on them. Furthermore, the bags are not green-colored, but are
instead a light brown color.

36. Because the food storage bags are not properly labeled as compostable, and were
not certified as compostable at the time of their purchase by Plaintiff, Defendant cannot make any
claims as to their purported compostability.

CLASS ACTION ALLEGATIONS

37. Plaintiff brings this suit individually and as a class action pursuant to Federal Rule
of Civil Procedure Rule 23, on behalf of herself and the following class of similarly situated
individuals:

All persons who purchased the Products for personal, family or household purposes

in California (either directly or through an agent) during the applicable statute of

limitations period (the “Class”). Specifically excluded from the Class are

Defendants; the officers, directors or employees of Defendants; any entity in which

Defendants have a controlling interest; and any affiliate, legal representative, heir

or assign of Defendants. Also excluded are any judicial officer presiding over this

action and the members of his/her immediate family and judicial staff, and any juror

assigned to this action.

38. Plaintiff is unable to state the precise number of potential members of the proposed
Class because that information is in the possession of Defendants. However, the number of Class
members is so numerous that joinder would be impracticable for purposes of Rule 23(a)(1). The
exact size of the proposed Class and the identity of its members will be readily ascertainable from
the business records of Defendants and Defendants’ retailers as well as Class members’ own
records and evidence. The disposition of the claims of the members of the Class in this action will
substantially benefit both the parties and the Court.

39, There is acommunity of interest among the members of the proposed Class in that

there are questions of law and fact common to the proposed Class for purposes of Rule 23(a)(2),

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including whether Defendants’ labels, advertisements, and packing include uniform
misrepresentations that misled Plaintiff and the other members of the Class to believe that the
Products are compostable when they are not. Proof of a common set of facts will establish the
liability of Defendants and the right of each member of the Class to relief.

40. Plaintiff asserts claims that are typical of the claims of the entire class, for purposes
of Rule 23(a)(3). Plaintiff and all members of the Class have been subjected to the same wrongful
conduct because they have purchased the Products that are labeled and sold as plates, bowls, and
other Foodware items that are claimed by Defendants to be compostable, when they are not in fact
compostable.

41. Plaintiff will fairly and adequately represent and protect the interests of the othey
members of the Class for purposes of Rule 23(a)(4). Plaintiff has no interests antagonistic to those
of the other members of the Class. Plaintiff is committed to the vigorous prosecution of this action!
Plaintiff anticipates no difficulty in the management of this litigation as a class action.

42. Class certification is appropriate under Rule 23(b)(2) because Defendants have
acted on grounds that apply generally to the Class, so that final injunctive relief or corresponding
declaratory relief, is appropriate respecting the Class as a whole. Defendants utilized labeling and
advertising concerning the Products that include uniform misrepresentations that misled Plaintiff
and other members of the Class.

43. Class certification is appropriate under Rule 23(b)(3) because common questions
of law and fact substantially predominate over any questions that my affect only individual
members of the Class. These common legal and factual questions, which do not vary among Class
members and which may be determined without reference to the individual circumstances of any
Class member include, but are not limited to the following:

a. Whether Defendants advertise and market the Products by representing that the
Products are compostable;
b. Whether Defendants mispresented the true country of origin on packaging for

certain of the Products;

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. Whether Defendants’ representations regarding compostability constitute

Whether the Products contain PFAS;

If the Products contain PFAS, whether Defendants sold the Products with the
knowledge that the Products contained PFAS;

Whether the Products are compostable as advertised and labeled by Defendants;
Whether Defendants’ marketing, advertising, and labeling claims regarding the
compostability of the Products are likely to deceive a reasonable consumer;
Whether Defendants’ representations regarding the compostability of the
Products are likely to be read and understood by a reasonable consumer;
Whether Defendants’ representations regarding the compostability of the
Products are in compliance with the Green Guides;

Whether Defendants’ claims regarding the compostability of the Products
would be material to a reasonable consumer of the Products;

Whether Defendants’ conduct in advertising, marketing, and labeling of the
Products constitutes a violation of California consumer protection laws;
Whether Defendants’ representations concerning the Products constitute
express watranties with regard to the Products;

Whether Defendants breached the express warranties they made with regard to

the Products;

representations that the Products have characteristics, benefits, or qualities
which they do not have;

Whether Defendants advertised their Products without an intent to sell them as
so advertised;

Whether Defendants have been unjustly enriched from the sale of the Products;
Whether punitive damages are warranted for Defendants’ conduct, and if so, an

appropriate amount of such damages; and

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q. Whether Plaintiff and the Class members are entitled to injunctive, equitable
and monetary relief.

44, Defendants utilize marketing, advertisements, and labeling that includes uniform
misrepresentations that misled Plaintiff and the other members of the Class. Defendants’ claims
regarding the compostability of the Products are one of the most prominent features of Defendants’
marketing, advertising, and labeling of the Products. Nonetheless, the Products are not in fact
compostable. Thus, there is a well-defined community of interest in the questions of law and fact
involved in this action and affecting the parties.

45. Proceeding as a class action provides substantial benefits to both the parties and the
Court because this is the most efficient method for the fair and efficient adjudication of the
controversy. Class members have suffered and will suffer irreparable harm and damages as a result
of Defendants’ wrongful conduct. Because of the nature of the individual Class members’ claims,
few, ifany, could or would otherwise afford to seek legal redress against Defendants for the wrongs
complained of herein, and a representative class action is therefore appropriate, the superior
method of proceeding, and essential to the interests of justice insofar as the resolution of Class
members’ claims are concerned. Absent a representative class action, members of the Class would
continue to suffer losses for which they would have no remedy, and Defendants would unjustly
retain the proceeds of its ill-gotten gains. Even if separate actions could be brought by individual
members of the Class, the resulting multiplicity of lawsuits would cause undue hardship, burden,
and expense for the Court and the litigants, as well as create the risk of inconsistent rulings which
might be dispositive of the interests of the other members of the Class who are not parties to the
adjudications or may substantially impede their ability to protect their interests.

FIRST CAUSE OF ACTION
(Plaintiff, on Behalf of Herself, the Class, and the General Public, Alleges Violations of CA
Business & Professions Code § 17200, et seg. Based on Commission of Unlawful Acts)
46. Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 45 of

this Complaint.

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47. The violation of any law constitutes an unlawful business practice under Business
& Professions Code §17200.

48. Defendants’ conduct violates CA Business & Professions Code § 17580.5, which
makes it unlawful for any person to make any untruthful, deceptive, or misleading environmental
marketing claim. Pursuant to §17580.5, the term “environmental marketing claim” includes any
claim contained in the Green Guides. 16 C.F.R. §260.1, ef seg. Under the Green Guides, “i]t is
deceptive to misrepresent, directly or by implication, that a product or package is compostable. A
marketer claiming that an item is compostable should have competent and reliable scientific
evidence that all the materials in the item will break down into, or otherwise become part of, usable
compost (e.g., soil-conditioning material, mulch) in a safe and timely manner (i.e., in
approximately the same time as the materials with which it is composted) in an appropriate
composting facility, or in a home compost pile or device. A marketer should clearly and
prominently qualify compostable claims to the extent necessary to avoid deception if: (1) the item
cannot be composted safely or in a timely manner in a home compost pile or device; or (2) the
claim misleads reasonable consumers about the environmental benefit provided when the item is
disposed of in a landfill.” 16 C.F.R. § 260(a)-(c). By misrepresenting that the Products are
compostable and have been certified as compostable by third party certification organizations as
described above, Defendants are violating Business and Professions Code § 17580.5.

49. As detailed more fully in the paragraphs below, the acts and practices alleged herein
were intended to or did result in the sale of the Products in violation of the CLRA, California Civil
Code $1750, et seg., and specifically California Civil Code § 1770(a)(5), (a)(7) and (a)(9).

50. Defendants’ conduct also violates Section 5 of the Federal Trade Commission Act
(FTC ACT”), 15 U.S.C. § 45, which prohibits unfair methods of competition and unfair or
deceptive acts or practices in or affecting commerce. By misrepresenting that the Products are
compostable, Defendants are violating Section 5 of the FTC Act.

51. Defendants’ conduct also violated California Business & Professions Code §

17500, which prohibits knowingly making, by means of any advertising device or otherwise, any

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untrue or misleading statement with the intent to sell a product or to induce the public to purchase
a product. By misrepresenting that the Products are compostable, Defendants are violating
Business & Professions Code § 17500.

52. Defendants’ conduct is also a breach of warranty. Defendants’ representations that
the Products are compostable constitute affirmations of fact made with regard to the Products, as
well as descriptions of the Products, that are part of the basis of the bargain between Defendants
and purchasers of the Products. Because those representations are material, false, and misleading,
Defendants have breached their express warranties as to the Products and have violated California
Commercial Code § 2313.

53. Defendants’ conduct is also a breach of California Public Resources Code §
42357,5. Certain of Defendants’ Products which are required to have certain lettering and labeling
features on them signifying that they were compostable were sold without those required lettering
and labeling features on them. By selling certain of the Products without the lettering and labeling
features as required by statute, Defendants are violating Public Resources Code § 42357.5.

54. By violating the CLRA, the FTC Act, Business & Professions Code §§ 17500 and
17580.5, California Commercial Code § 2313, and California Public Resources Code §42357.5,
Defendants have engaged in unlawful business acts and practices which constitute unfair
competition within the meaning of Business & Professions Code § 17200. Plaintiff would not have
purchased the Products, or would not have paid as much for Products, but for Defendants’ unlawful
business practices. Plaintiff has thus suffered injury in fact and lost money or property as a direct
result of Defendants’ misrepresentations and material omissions.

55. An action for injunctive relief and restitution is specifically authorized under
Business & Professions Code § 17203.
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SECOND CAUSE OF ACTION
(Plaintiff, on Behalf of Herself, the Class, and the General Public, Alleges Violations of
California Business & Professions Code § 17200, et seg. Based on Fraudulent Acts and
Practices)

56. Plaintiff realleges and incorporated herein by reference Paragraphs 1 through 55
of this Complaint.

57. Under Business & Professions Code § 17200, any business act to practice that is
likely to deceive members of the public constitutes a fraudulent business act or practice.

58. | Defendants have engaged in and continue to engage in conduct that is likely to
deceive members of the public. This conduct includes but is not limited to, representing that the
Products are compostable; representing that the products have been certified as compostable by an
independent third-party certification organization such as TUV Austria or BPI; representing that
certain of the Products have been manufactured in a country different from their actual county off
origin; and selling certain of the Products in violation of California Public Resources Code §
42357.5 by failing to properly label them in accordance with applicable law.

59. Plaintiff purchased the Products in reliance on Defendants’ representations that the
Products are compostable. Defendants’ claims that the Products are compostable are material,
untrue, and misleading. These compostable claims are prominent on all of Defendants’ marketing,
advertising, and labeling materials, even though Defendants are aware that the claims are false and
misleading. Also, because Defendants’ compostable claims violate Business & Professions Code
§17580.5, such claims are deceptive per se. Defendants’ claims are thus likely to deceive both
Plaintiff and a reasonable consumer. Plaintiff would not have purchased the Products, or would
not have paid as much for the Products, but for Defendants’ false representations that the Products|
are compostable. Plaintiff has thus suffered injury in fact and lost money or property as a direct

result of Defendants’ misrepresentations and material omissions.

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60. By committing the acts alleged above, Defendants have engaged in fraudulent
business acts and practices, which constitute unfair competition within the meaning of Business &
Professions Code §17 203.

THIRD CAUSE OF ACTION
(Plaintiff, on Behalf of Herself, the Class, and the General Public, Alleges Violations of
California Business & Professions Code § 17200, et seg. Based on Unfair Acts and
Practices)

61. Plaintiff realleges and incorporated herein by reference Paragraphs 1 through 60
of this Complaint.

62. Under Business & Professions Code § 17200, any business act or practice that is
unethical, oppressive, unscrupulous, or substantially injurious to consumers, or that violated a
legislatively declared policy, constitutes an unfair business act to practice.

63. Defendants have engaged in and continue to engage in conduct which is immoral]
unethical, oppressive, unscrupulous, and substantially injurious to consumers. This conduct
includes but is not limited to, advertising and marketing the Products as compostable when they
are not. By taking advantage of consumers concerned about the environmental impact of non-
sustainable wase, Defendants’ conduct, as described herein, far outweighs the utility, if any, of
such conduct.

64. Defendants have engaged in and continue to engage in conduct that violates the
legislatively declared policy of the CLRA against misrepresenting the characteristics, uses,
benefits, and quality of goods for sale.

65. Defendants’ conduct also violated the policy of the Green Guides. The Green
Guides mandate that “it is deceptive to misrepresent, directly or by implication, that a product on
package is compostable.” 16 C.F.R. § 260.7(a). It further states that “[a] marketer claiming that an
item is compostable should have competent and reliable scientific evidence that all the materials
in the item will break down into, or otherwise become part of usable compost...in a safe and timely,

manner.” 16 C.F.R. § 260.7(b). As explained above, the Products are not compostable and the

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PFAS contained within the Products do not break down into usable compost over time. Moreover,
the PFAS contaminate the compost, thereby contaminating the soil treated with thecompost.

66. Defendants’ conduct, including failing to disclose that the Products contain PFAS
which cannot break down into usable compost, is substantially injurious to consumer. Such
conduct has caused and continues to cause substantial injury to consumers because consumers
would not have purchased the Products but for Defendants’ representations that the Products are
compostable. Consumers are concerned about environmental issues in general and PFAS
contamination in particular. Defendants’ representations are therefore material to such consumers.
Misleading causes injury to such consumers that is not outweighed by any countervailing benefits
to consumers or competition. Indeed, no benefit to consumers or competition results from
Defendants’ conduct. Defendants gain an unfair advantage over their competitors, whose
advertising must comply with the CLRA, the FTC Act, Cal. Business & Professions Code §
17580.5, and the Green Guides. Since consumers reasonably rely on Defendants’ representations
of the Products and injury results from the ordinary use of the Products, consumers could not have
reasonably avoided such injury.

67. Although Defendants know that the Products are not compostable, Defendants
failed to disclose that fact to Plaintiff and the Class.

68. By committing the acts alleged above, Defendants have engaged in unfair business
acts and practices which constitute unfair competition within the meaning of California Business
& Professions Code § 17200.

69. An action for injunctive relief and restitution is specifically authorized under
California Business & Professions Code § 17203.

70. Plaintiff would not have purchased the Products, or would not have paid as much,
for the Products, but for Defendants’ unfair business practices. Plaintiff has thus suffered injury in
fact and lost money or property as a direct result of Defendants’ misrepresentations and material

omissions.

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FOURTH CAUSE OF ACTION
(Plaintiff, on Behalf of Herself and the Class, Alleges Violations of the California
Consumers Legal Remedies Act — Injunctive Relief and Damages)
71. Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 70 off

this Complaint.

72. Plaintiff and the Class members purchased the Products for personal, family, oy
household purposes.
73. The acts and practices of Defendants as described above were intended to deceive

Plaintiff and the Class members as described herein and have resulted and will result in damages
to Plaintiff and the Class members. These actions violated and continue to violate the CLRA in at
least the following respects:

a. In violation of Section 1770(a)(5) of the CLRA, Defendants’ acts and practices
constitute representations that the Products have characteristics, uses, on
benefits which they do not, in fact, have;

b. In violation of Section 1770(a)(7) of the CLRA, Defendants’ acts and practices
constitute representations that the Products are of a particular quality, which
they are not; and

c. In violation of Section 1770(a)(9) of the CLRA, Defendants’ acts and practices
constitute the advertisement of the Products without the intent to sell them as
advertised.

74. By reason of the foregoing, Plaintiff and the Class members have suffered damages.

75. By committing the acts alleged above, Defendants violated the CLRA.

76. In compliance with the provisions of California Civil Code § 1782, on May 10,
2021, and July 12, 2021, Plaintiff provided written notice to Defendants of her intention to seek’
damages under California Civil Code §1750, et seg., and requested that Defendants offer anl

appropriate consideration or other remedy to all affected consumers. As of the date of this

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complaint, Defendants have not done so. Accordingly, Plaintiff seeks damages pursuant to
California Civil Code §§ 1780(a)(1) and 1781(a).

77. Pursuant to California Civil Code § 180(a)(2), Plaintiff and the Class members are}
entitled to an order enjoining the above-described wrongful acts and practices of Defendants,
providing actual and punitive damages and restitution to Plaintiff and the Class members, and
ordering the payment of costs and attorneys’ fees and any other relief deemed appropriate and
proper by the Court under California Civil Code § 1780.

FIFTH CAUSE OF ACTION
(Plaintiff, on Behalf of Herself and the Class, Alleges Breach of Express Warranty)

78. Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 77 of
this Complaint.

79. The Uniform Commercial Code §2-313 provides that an affirmation of fact or
promise made by the seller to the buyer which relates to the goods and becomes part of the basis
of the bargain creates an express warranty that the foods shall conform to the promise.

80. As detailed above, Defendants marketed and sold the Products as compostable.
Defendants’ representations that the Products are compostable constitute affirmations of fact made
with regard to the Products, as well as descriptions of the Products.

81. Defendants’ representations regarding the compostability of the Products are
uniformly made in the Products’ advertising, internet websites, and other marketing materials, and
on the Product’ labeling and packaging materials, and are thus part of the basis of the bargain
between Defendants and purchasers of the Products.

82. California has codified and adopted the provisions of the Uniform Commercial
Code governing express warranties (Cal. Com. Code § 2313).

83. At the time that Defendants designed, manufactured, sold, and distributed the

Products, Defendants knew that the Products were not compostable.

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84. As set forth in the paragraphs above, the Products are not compostable and thus do
not conform to Defendants’ express representations that the Products are compostable. Defendants
have thus breached their express warranties concerning the Products.

85. On May 10, 2021, Plaintiff sent a pre-suit demand letter to Defendants notifying
Defendants that certain of the Products were not properly labeled in accordance with California
Public Resources Code § 42357.5. On July 12, 2021, Plaintiff sent a second pre-suit demand lettey
to Defendants that the Products were not in fact compostable as Defendants market, advertise, and
otherwise claim the Products are. Defendants therefore have actual and constructive knowledge
that the Products are not compostable and were thus not sold as marketed and advertised.

86. As a direct and proximate result of Defendants’ breach of express warranties,
Plaintiff and Class members have suffered damages.

SIXTH CAUSE OF ACTION
(Plaintiff, on Behalf of Herself and the Class, Alleges Unjust Enrichment)

87. Plaintiff realleges and incorporates herein by reference Paragraphs 1 through 86 of
this Complaint.

88. Plaintiff and the Class members conferred benefits on Defendants by purchasing
the Products.

89. Defendants have knowledge of such benefits.

90. Defendants voluntarily accepted and retained the benefits conferred.

91. Defendants have been unjustly enriched in retaining the revenues derived from
Plaintiff's and the Class members’ purchases of the Products.

92. Retention of that money under these circumstances is unjust and inequitable
because Defendants falsely and misleadingly represented through their labeling, advertising, and
marketing materials that the Products are compostable, when the Products are not in fact
compostable.

93. These misrepresentations and omissions caused injuries to Plaintiff and the Class

members because they would not have purchased the Products, or would not have paid as much

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for the Products, had they known that the Products are not compostable, but instead, contaminate
the compost stream.

94. Because Defendants’ retention of the non-gratuitous benefits conferred to them by
Plaintiff and the Class members is unjust and inequitable, Defendants ought to pay restitution to
Plaintiff and the Class members for their unjust enrichment.

95. Asa direct and proximate result of Defendants’ unjust enrichment, Plaintiff and the
Class members are entitled to restitution or disgorgement in an amount to be proven at trial

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment and relief against Defendants as follows:

1. That the Court declare this a class action;

2. That the Court preliminarily and permanently enjoin Defendants from conducting
their business through the unlawful, unfair, or fraudulent business acts or practices, untrue and
misleading advertising, and other violations of law described in this Complaint;

3. That the Court order Defendants to cease and refrain from marketing and promotion
of the Products that state or imply that the Products are compostable;

4. That the Court order Defendants to implement whatever measures are necessary to
remedy the unlawful, unfair, or fraudulent business acts or practices, untrue and misleading
advertising, and other violations of law described in this Complaint;

5. That the Court order Defendants to notify each and every Class member of the
pendency of the claims in this action in order to give such individuals an opportunity to obtain
restitution and damages from Defendants;

6. That the Court order Defendants to pay restitution to restore all Class members al]
funds acquired by means of any act or practice declared by this Court to be an unlawful, unfair, or
fraudulent business act or practice, or untrue or misleading advertising, plus pre-and post-judgment

interest thereon;

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7. That the Court order Defendants to disgorge all money wrongfully obtained and all
revenues and profits derived by Defendants as a result of their acts or practices as alleged in this
Complaint;

8. That the Court award damages to Plaintiff and the Class to compensate them fon
the conduct alleged in this complaint;

9. That the Court award punitive damages pursuant to California Civil Code §
78(a)(4);

10. That the Court grant Plaintiff reasonable attorneys’ fees and costs of suit pursuant
to California Code of Civil Procedure § 1021.5, California Civil Code § 1780(d), the common fund
doctrine, or any other appropriate legal theory; and

11. That the Court grant such other and further relief as may be just and proper.

JURY DEMAND

Plaintiff hereby demands a trial by jury on all causes of action so triable.

Dated: February 23, 2022 KAHN, SOARES & CONWAY, LLP

By:
ee Conway, attorney for Plaintiff,
Terri Little, an individual

 

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